             Case 3:12-cr-03698-AJB                      Document 17                Filed 10/15/12                   PageID.44            Page 1 of 2


     ~AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
                Sheet 1


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                                              UNITED STATES DISTRICT eUURT
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                                                                                                                                             ~"

                                                  SOUTHERN DISTRICT OF CALIFO~~~'\.:.'~ i ~",.:; ."
                                                                                                           :';0" -                           r'''.,p~!~''
                     UNITED STATES OF AMERICA                                      JUDGMENT IN 4 £...RI~SE
                                        v.                                         (For Offenses Coml'fif~After November I, 1987)

                     mAN COLORADO- HefNI\1\ItAt.-2. (O1.)                          Case Number: 12CR3698-AJB-02


                                                                                   Defendant's Attorney
     REGISTRATION NO. 36261298

    D
    THE DEFENDANT:
     181pleaded guilty to count(s) _T_w_o_of_t_h_e_I_nd_i_c_tm_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                    Count
     Title & Section                         Nature ofOtTense                                                                                      Number(s)
8 USC 1324(a)(1)(A)(ii)               BRINGING IN ILLEGAL ALIENS                                                                                            2




        The defendant is sentenced as provided in pages 2 through _ _..; ;2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count(s)
                                       ----------------------------
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D are D dismissed on the motion of the United States.
  181 Assessment: $100.00 - Waived

  181 Fine waived                                   D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                   12CR3698-AJB-02
        Case 3:12-cr-03698-AJB                        Document 17      Filed 10/15/12      PageID.45          Page 2 of 2

AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
            Sheet 2 -   Imprisonment

                                                                                           Judgment - Page _ _2 _ of         2
 DEFENDANT: JUAN COLORADO- HerNC4/Vde.:z.. (OJ.)
 CASE NUMBER: 12CR3698-AJB-02
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                       Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ___________________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                      By __________~~~~~~~______---------­
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                12CR3698-AJB-02
